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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

 In re:

 206 Golden, LLC,                                           Case No.: 8:21-bk-04780-CPM
 dba The Crossroads,                                        Chapter 7

             Debtor.
 ________________________________________/

    JOINT MOTION TO APPROVE COMPROMISE WITH LITIGATION PARTIES


                               NOTICE OF OPPORTUNITY TO
                            OBJECT AND REQUEST FOR HEARING

           If you object to the relief requested in this paper you must file a response with
           the Clerk of Court at Sam M. Gibbons United States Courthouse, 801 North
           Florida Avenue, Suite 555, Tampa, FL 33602, within 21 days from the date of
           the attached proof of service, plus an additional three days if this paper was
           served on any party by U.S. Mail.

           If you file and serve a response within the time permitted, the Court will either
           notify you of a hearing date or the Court will consider the response and grant or
           deny the relief requested in this paper without a hearing. If you do not file a
           response within the time permitted, the Court will consider that you do not
           oppose the relief requested in the paper, and the Court may grant or deny the
           relief requested without further notice or hearing.

           You should read these papers carefully and discuss them with your attorney
           if you have one. If the paper is an objection to your claim in this bankruptcy
           case, your claim may be reduced, modified, or eliminated if you do not
           timely file and serve a response.


          Pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure, and other applicable

law, Douglas N. Menchise, as Chapter 7 Trustee (“Trustee”); Karl E. “KC” Cross (“Cross”); Eagle

Healthcare, LLC, Senior Care CF, LLC, Payroll Processing & Personnel, LLC, T K Practitioners,

LLC, N969KT, LLC, and Volunteer Properties of Davenport, LLC (collectively, the “Cross

Entities”); American Express Company and American Express National Bank (collectively,

“American Express”); and Center for Aging and Rehabilitation of Davenport, Inc. (“CARD”); by

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and through their respective undersigned counsel, hereby move for entry of an Order approving a

compromise to resolve the outstanding adversary proceedings brought by the Trustee against

Cross, the Cross Entities, American Express, and CARD, as further detailed herein. In support,

the Parties state as follows:

                                            BACKGROUND

          1.      On or about September 17, 2021 (the “Petition Date”), 206 Golden, LLC, d/b/a The

Crossroads (“Debtor”), filed a voluntary petition under Chapter 11, Subchapter V of the

Bankruptcy Code in the United States Bankruptcy Court for the Middle District of Florida. [ECF

No. 1].

          2.      According to its Chapter 11 Case Management Summary, the Debtor operated a

skilled nursing facility located at 206 West Orange Street, Davenport, FL 33837 (the “Facility”)

until it purportedly ceased operations on or about May 1, 2021. [ECF No. 9].

          3.      On October 15, 2021, the above-captioned case was converted from Chapter 11 to

Chapter 7. [ECF Nos. 44, 45]. Thereafter, the Trustee was appointed as Chapter 7 trustee, and

remains the duly appointed and acting Chapter 7 trustee of the estate of the Debtor. [ECF No. 45].

          4.      In this case and its related adversary proceedings, the Trustee has alleged that the

Debtor was part of a larger operating entity that was and remains owned and controlled by Cross,

including but not limited to the Cross Entities. The Trustee alleges that when the Debtor was

exposed to potential personal injury liability, the Debtor purported to transfer (at the behest of

Cross) its operations and all personal property to CARD for no consideration. Thus, one day the

nursing home facility was operated by the Debtor, and the next it was operated by CARD, albeit

with a continuity of management, personnel, physical location, assets, and general business

operations.




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          5.      Arising out of these allegations, the Trustee filed three adversary proceedings. First,

as against American Express, Adv. No. 8:22-ap-00102-CPM (the “Amex AP”), in which the

Trustee seeks to avoid and recover certain transfers by the Debtor to American Express related to

credit cards issues by American Express to Cross and/or on which Cross was personally liable.

          6.      Next, as against CARD, Adv. No. 8:22-ap-00107-CPM, in which the Trustee

asserted claims for substantive consolidation, successor liability, and other Chapter 5 causes of

action.

          7.      Finally, as against Cross and the Cross Entities, Adv. No. No. 8:22-ap-00116-CPM,

in which the Trustee asserted claims for alter ego and other Chapter 5 causes of action.

          8.      All Defendants in the respective adversaries have denied the allegations against

them, asserted (or planned to assert) significant affirmative defenses, and otherwise denied any

liability.

          9.      In a good faith effort to avoid the costs and uncertainty attendant to litigation, the

Parties mediated the Trustee’s asserted claims, both pre- and post-suit. As a result of the mediation

and related exchanges of information and documents, the Parties have agreed that it is in their best

interests to amicably resolve all claims and defenses that were or could have been raised by the

Trustee against Cross, the Cross Entities, American Express, and CARD.

          10.     Attached hereto as Exhibit 1 is the Parties’ Settlement Agreement.




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                                      TERMS OF SETTLEMENT

       11.      To resolve all issues between them, the Parties have agreed upon the following

compromise. To the extent there is any conflict between the terms summarized herein and the

Settlement Agreement attached as Exhibit 1, the Settlement Agreement shall control.

       12.      The following monetary consideration will be paid to the Trustee for a total

settlement amount of $700,000.00:

             a. American Express shall pay to the Trustee $125,000.00;

             b. Cross and/or the Cross Entities shall pay or cause to be paid to the Trustee the sum
                of $233,646.52; and

             c. The Trustee shall retain the $341,353.48 currently in the possession of the Trustee,
                with CARD waiving any asserted rights to such funds.

       13.      As between the Trustee and American Express, the parties have agreed to generally

release each other for all matters pre- and post-petition that were or could have been raised in the

pending adversary proceedings.

       14.      As between the Trustee and CARD, the parties have agreed to generally release

each other for all matters pre- and post-petition that were or could have been raised in the pending

adversary proceedings, including CARD’s waiver of any interest in the non-trust funds currently

held by the Trustee. Further, CARD agrees to withdraw any pending motions or contested matters.

       15.      As between the Trustee and Cross and the Cross Entities, the parties have agreed to

generally release each other for all matters pre- and post-petition that were or could have been

raised in the pending adversary proceedings, including withdrawal of any proofs of claim filed by

Cross or the Cross Entities.




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                                        BASIS FOR RELIEF

       16.     Pursuant to Rule 9019 of the Federal Rule of Bankruptcy Procedure, approval of a

compromise is within the sound discretion of this Court. In re Foster Mortg. Corp., 68 F.3d 914,

917 (5th Cir. 1995). Specifically, Bankruptcy Rule 9019 provides:

       Compromise. On motion by the trustee and after notice and a hearing, the court
       may approve a compromise or settlement. Notice shall be given to creditors, the
       United States trustee, the debtor, and indenture trustees as provided in Rule 2002
       and to any other entity as the court may direct.

Fed. R. Bankr. P. 9019.

       17.     The standard for approval of a compromise settlement is whether the proposed

settlement is “fair and equitable” and “in the best interest of the estate.” Protective Comm. for

Independent Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414, 424 (1968). Thus,

“when a bankruptcy court decides whether to approve or disapprove a proposed settlement, it must

consider:

       (a) the probability of success in the litigation; (b) the difficulties, if any, to be
       encountered in the matter of collection; (c) the complexity of the litigation involved,
       and the expense, inconvenience and delay necessarily attending it; (d) the
       paramount interest of the creditors and a proper deference to their reasonable views
       in the premises.

In re Justice Oaks II, Ltd., 898 F. 2d 1544, 1549 (11th Cir. 1990).

       18.     Moreover, to approve a compromise, the Court need not determine which party

would ultimately prevail, but only that the matter was open to reasonable doubt. Id. “It is generally

recognized that the law favors settlement of disputes over litigation for litigation sake.” In re

Bicoastal Corp., 164 B.R. 1009, 1016 (Bankr. M.D. Fla. 1993).

       19.     In In re Soderstrom, 477 B.R. 249, 252 (Bankr. M.D. Fla. 2012), this Court stated:

       A trustee must make a comprehensive examination of the underlying facts and
       prove a settlement agreement is reasonably beneficial to an estate. A court is not
       required to decide the merits of each claim or hold a ‘mini trial’ of the underlying
       litigation but must have enough information to evaluate the reasonableness of a
       trustee’s proposed settlement. When the potential augmentation of a bankruptcy

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       estate ‘involves protracted investigation or potentially costly litigation, with no
       guarantee as to the outcome, the trustee must tread cautiously, and an inquiring
       court must accord him wide latitude in deciding whether to settle. . . . A settlement
       necessarily vitiates the need to decide the merits of each underlying argument to
       promote judicial efficiency and foster cooperation among the parties in resolving
       complex cases such as this.

       20.     “[T]he Bankruptcy court has broad discretion to approve a compromise.” In re

Bicoastal Corp., 164 B.R. at 1016. Settlements or compromises should be approved unless they

“fall below the lowest point in the range of reasonableness.” Id. “[B]ankruptcy court[s] [are] not

required to rule on the merits, and must look only to the probabilities.” Romagosa v. Thomas (In

re Van Diepen, P.A.), 236 Fed. Appx. 498, 504 (11th Cir. 2007).

       21.     “The question presented … is not whether the settlement on the terms proposed is

objectively better for the [e]state than the litigation alternative, nor is the question whether this

[c]ourt or the [o]bjecting [p]arties would have made a different decision under the same

circumstances – the question is whether the [t]rustee’s decision was reasonable.” In re Harbour

East Development, Ltd., 2012 WL 1851015, at * 1-2 (Bankr. S.D. Fla. May 21, 2012) (citations

omitted).

       22.     Here, the compromise outlined in this Motion and the attached Settlement

Agreement, which was negotiated at arm’s length after multiple days of mediation, is fair and

equitable and in the best interest of the bankruptcy estate.

       23.     As the dockets in the main case and adversary proceedings demonstrate, the claims

asserted by the Trustee, and defenses presented by Cross, the Cross Entities, CARD, and American

Express, are likely to be fact-intensive disputes, necessitating protracted litigation on contentious

issues, intensive discovery, and a low likelihood of summary adjudication, ultimately requiring a

trial with many unknowns and potential outcomes. Additionally, the Trustee anticipates the

potential of post-judgment or interlocutory appeals.



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        24.     The settlement set forth herein is in the best interests of creditors because it avoids

protracted litigation that could consume and deplete the estate’s assets, resources, and potential

recoveries.

        25.      The Parties believe it is in their best interests to enter into an agreement to resolve

through this compromise any and all potential issues between them. The Parties submit that, in

their business judgment, the terms the settlement are overwhelmingly in the best interest of this

Estate and its creditors.

        WHEREFORE, the Parties respectfully request this Court enter an order that (i) grants

this Motion; (ii) approves the terms of settlement; (iii) authorizes the parties to consummate the

settlement; and (iv) awards such other and further relief as this Court deems necessary and proper.

                                               Respectfully Submitted,

                                               SHUMAKER, LOOP & KENDRICK, LLP

                                               By: /s/ Steven M Berman
                                                    Steven M. Berman, Esq.
                                                    Florida Bar No.: 856290
                                                    sberman@shumaker.com
                                                    101 E. Kennedy Blvd., Suite 2800
                                                    Tampa, Florida 33602
                                                    Phone (813) 229-7600




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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 21, 2023, the foregoing was served via CM/ECF
notice to all counsel of record and by U.S. Mail to

206 Golden, LLC                                Robert P Charbonneau
6511 Nova Drive, Ste 168                       Agentis PLLC
Fort Lauderdale, FL 33317                      55 Alhambra Plaza, Suite 800
                                               Coral Gables, FL 33134

J Steven Wilkes                                United States Trustee - TPA
Office of United States Trustee                Timberlake Annex, Suite 1200
501 East Polk Street                           501 E Polk Street
Tampa, FL 33602                                Tampa, FL 33602

All Creditors on the attached matrix
                                         /s/ Steven M Berman
                                         Attorney




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               EXHIBIT 1
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                               SETTLEMENT AGREEMENT

                                                                                         20th day
        This Settlement Agreement (the “Agreement”) is made and entered into as of this ____
of March, 2023, by, between and among (i) Douglas N. Menchise, as Chapter 7 Trustee (the
“Trustee”) for the bankruptcy estate of 206 Golden LLC d/b/a The Crossroads (the “Debtor”), (ii)
American Express Company (“AEC”) and American Express National Bank (“AENB”; and AEC
and AENB collectively, “AmEx”), (iii) Center for Aging and Rehabilitation Davenport, Inc.
(“CARD”); and Payroll Processing & Personnel LLC (“Payroll”), T K Practitioners, LLC (“TK”),
Volunteer Properties of Davenport, LLC (“Volunteer”), Senior Care CF, LLC (“Senior Care”),
N969KT, LLC (“N969KT”), Eagle Healthcare, LLC (“Eagle”) and Karl E. “KC” Cross. Payroll,
TK, Volunteer, N969KT, Eagle, and KC Cross are collectively referred to as the “Cross Parties.”
The Trustee, AmEx, CARD, and Cross Parties are also referred to below individually as a “Party”
or collectively as the “Parties.”

                                          WHEREAS:

       A.     WHEREAS, on September 17, 2021, the Debtor filed its voluntary petition under
Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”), initiating case number
8:21-bk-04780 (the “Bankruptcy Case”) in the Bankruptcy Court for the Middle District of Florida
(the “Bankruptcy Court”).

       B.     WHEREAS, on October 15, 2021, the Bankruptcy Case was converted to a case
under Chapter 7 of the Bankruptcy Code.

       C.     WHEREAS, also on October 15, 2021, the Trustee was duly appointed as the
Chapter 7 Trustee in the Bankruptcy Case.

       D.     WHEREAS, on May 24, 2022, the Trustee filed a Complaint against AmEx in the
Bankruptcy Case seeking to avoid and recover alleged fraudulent transfers pursuant to, inter alia,
11 U.S.C. §§ 544, 548 and 550, initiating case number 8:22-ap-00102 (the “AmEx Adversary
Proceeding”).

       E.    WHEREAS, on June 24, 2022, AmEx filed its Answer and Affirmative Defenses
in the AmEx Adversary Proceeding, in which AmEx generally denied the allegations in the
Complaint and raised certain defenses thereto.

         F.      WHEREAS, AmEx has asserted various factual and legal defenses and denies
liability for the Trustee’s claims against it.

         G.     WHEREAS, on June 6, 2022, the Trustee filed a complaint against CARD
instituting the adversary proceeding styled Menchise v. Center for Aging and Rehabilitation of
Davenport, Inc. d/b/a Davenport Care Center, Adv. Pro. No.: 8:22-00107-CPM, wherein the
Trustee is seeking to avoid and recover various transfers pursuant to 11 U.S.C. §§ 544, 547, 548,
and 550 and other applicable law, and for other forms of equitable relief (the “CARD Adversary”).

        H.      WHEREAS, CARD filed a motion to dismiss the adversary proceeding which is
set for hearing on March 22, 2023.


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        I.       WHEREAS, on June 6, 2022, the Trustee filed a complaint against the Cross
Parties instituting the adversary proceeding styled Menchise v. Karl E. “KC” Cross et al., Adv.
Pro. No.: 8:22-00116-CPM, wherein the Trustee is seeking to avoid and recover various transfers
pursuant to 11 U.S.C. §§ 544, 547, 548, and 550 and other applicable law, for other forms of
equitable relief including substantive consolidation, and for certain declaratory relief (“Cross
Parties Adversary”).

      J.     WHEREAS, the Cross Parties have not filed a response to the Cross Parties
Adversary because of the parties engaging in the settlement negotiations that led to this
Agreement.

        K.      WHEREAS, the Trustee, AmEx, CARD, and the Cross Parties having formally and
informally exchanged documents and information, and evaluated the strengths and weaknesses of
their respective claims and defenses, and without any admissions as to their respective positions,
are desirous of compromising and settling the Trustee’s claims against AmEx, CARD, and the
Cross Parties in their entirety, in order to avoid the expenses and risks of litigation, on the following
terms and conditions.

       NOW THEREFORE, in consideration of the premises and mutual promises set forth
below and for other good and valuable consideration, the receipt and sufficiency of which are
hereby acknowledged, the Parties hereto agree as follows:

        1.      Effective Date. Unless otherwise stated, the obligations, representations, warranted
stated in this Settlement Agreement shall become effective upon the entry of a final order by the
Bankruptcy Court approving this Agreement or, if there is an appeal, upon the entry of a final order
with respect to the appeal (the “Effective Date”).

        2.       Settlement Payment.

              a. The Trustee shall receive a total of $700,000.00, paid as follows:

                      i. AENB agrees to pay to “Shumaker, Loop & Kendrick, LLP” (the “Payee”),
                         counsel for the Trustee, the sum of One Hundred Twenty-Five Thousand
                         and 00/100 Dollars ($125,000.00) (the “AmEx Settlement Payment”)
                         within thirty (30) days of AmEx’s counsel’s receipt of (i) the fully executed
                         Agreement, (ii) an IRS Form W-9 completed by the Payee; and (iii) an
                         Electronic Deposit Authorization Form, which is attached hereto as Exhibit
                         A, completed and signed by the Payee

                     ii. The Trustee shall retain the $341,353.48 currently in the possession of the
                         Trustee, with CARD and all Parties other than the Trustee waiving any
                         interest in such funds..

                    iii. CARD and the Cross Parties, jointly and severally, and in any proportion to
                         which each of those parties agree, shall pay $233,646.52 (the “CARD/Cross
                         Settlement Payment”) to the Trustee within thirty (30) days of the Effective
                         Date.


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        3.     Court Approval of Settlement. This Agreement is conditioned upon and shall not
become effective unless and until it is approved by the Bankruptcy Court. If the Trustee receives
either Settlement Payment prior to the Effective Date, the Trustee shall hold that Settlement
Payment in trust pending the Effective Date. In the event that the Bankruptcy Court does not
approve this Agreement, or there is a final, non-appealable order of an appellate court reversing
an order of the Bankruptcy Court approving this Agreement, (i) the Trustee shall promptly return
the respective Settlement Payments to AmEx, CARD and/or Cross and (ii) this Agreement shall
be null and void, with the Parties returning to their original respective positions with no rights
waived or released.

        4.      The Trustee’s Release of AmEx. Except for the obligations contained in this
Agreement, and upon receipt of the AmEx Settlement Payment and occurrence of the Effective
Date, the Trustee, on behalf of himself in his capacity as Trustee of the Debtor’s bankruptcy estate,
releases and discharges AmEx and its affiliates, including, without limitation, American Express
Travel Related Services Company, Inc. (the “AmEx Affiliates”), and their respective officers,
directors, agents, employees, and attorneys (collectively, the “AmEx Parties”), from any and all
actual or potential claims, demands, obligations, losses, causes of action, damages, penalties, costs,
expenses, attorneys’ fees, liabilities, and indemnities, of any kind or nature whatsoever, whether
known or unknown, suspected or unsuspected, arising from or relating to any claims asserted or
that could have been asserted against AmEx or the other AmEx Parties by the Trustee related in
any manner to the Debtor or the Bankruptcy Case at any time prior to the execution of this
Agreement, including, without limitation, any claims under Chapter 5 of the Bankruptcy Code or
comparable state statutes. The Trustee acknowledges that he or his attorneys may hereafter
discover facts different from or in addition to the facts that he now knows or believes to be true as
to the subject matter of this Agreement, but that it is his intention to hereby fully and finally release
the claims set forth in this paragraph, notwithstanding the discovery of any such different or
additional facts.

         5.      AmEx’s Release of the Trustee and Estate. Except for the obligations contained
in this Agreement, and upon delivery of the AmEx Settlement Payment and occurrence of the
Effective Date, AmEx, on behalf of itself and the AmEx Affiliates, releases and discharges the
Trustee and the Debtor’s bankruptcy estate and the Trustee’s agents, employees and attorneys
(collectively, the “Trustee Released Parties”), from any and all actual or potential claims, demands,
obligations, losses, causes of action, damages, penalties, costs, expenses, attorneys’ fees,
liabilities, and indemnities, whether known or unknown, suspected or unsuspected, arising from
or relating to any claims asserted or that could have been asserted against the Trustee Released
Parties by AmEx or the AmEx Affiliates related to the Debtor or the Bankruptcy Case at any time
prior to the execution of this Agreement (including, without limitation, any claim for the AmEx
Settlement Payment under 11 U.S.C. § 502(h)); provided, however, and other than as expressly
provided in paragraph 5 of this Agreement, that this release does not extend to any contractual
obligations (including charges on credit or charge cards) by any entity or individual other than the
Debtor. AmEx and the AmEx Affiliates acknowledge that they or their attorneys may hereafter
discover facts different from or in addition to the facts that they now know or believe to be true as
to the subject matter of this Agreement, but that it is their intention to hereby fully and finally
release the claims set forth in this paragraph, notwithstanding the discovery of any such different
or additional facts.


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       6.      No Contribution or Indemnification. AmEx further agrees that neither it nor any
of the AmEx Affiliates will seek contribution, indemnification or any claim whatsover for the
AmEx Settlement Payment from Karl E. “KC” Cross or any other liable cardholder on the credit
card accounts at issue in the AmEx Adversary Proceeding.

        7.      The Trustee’s Release of CARD. Except for the obligations contained in this
Agreement, and upon occurrence of the Effective Date and delivery of the CARD/Cross Settlement
Payment, the Trustee, on behalf of himself in his capacity as Trustee of the Debtor’s bankruptcy
estate, releases and discharges CARD and its affiliates, and their respective officers, directors,
agents, employees, attorneys, and professionals (collectively, the “CARD Parties”), from any and
all actual or potential claims, demands, obligations, losses, causes of action, damages, penalties,
costs, expenses, attorneys’ fees, liabilities, and indemnities, of any kind or nature whatsoever,
whether known or unknown, suspected or unsuspected, arising from or relating to any claims
asserted or that could have been asserted against CARD or the other CARD Parties by the Trustee
related in any manner to the Debtor or the Bankruptcy Case at any time prior to the execution of
this Agreement, including, without limitation, any claims under Chapter 5 of the Bankruptcy Code
or comparable state statutes. The Trustee acknowledges that he or his attorneys may hereafter
discover facts different from or in addition to the facts that he now knows or believes to be true as
to the subject matter of this Agreement, but that it is his intention to hereby fully and finally release
the claims set forth in this paragraph, notwithstanding the discovery of any such different or
additional facts.

        8.       CARD’s Release of the Trustee and Estate. Except for the obligations contained
in this Agreement, and upon occurrence of the Effective Date and delivery of the CARD/Cross
Settlement Payment, CARD, on behalf of itself and the CARD Parties, releases and discharges the
Trustee and the Debtor’s bankruptcy estate and the Trustee’s agents, employees, accountants,
attorneys, and professionals (collectively, the “Trustee Released Parties”), from any and all actual
or potential claims, demands, obligations, losses, causes of action, damages, penalties, costs,
expenses, attorneys’ fees, liabilities, and indemnities, whether known or unknown, suspected or
unsuspected, arising from or relating to any claims asserted or that could have been asserted against
the Trustee Released Parties by CARD or the CARD Parties related to the Debtor or the
Bankruptcy Case at any time prior to the execution of this Agreement (including, without
limitation, any claim for the CARD/Cross Settlement Payment under 11 U.S.C. § 502(h)). CARD
and the CARD Parties acknowledge that they or their attorneys may hereafter discover facts
different from or in addition to the facts that they now know or believe to be true as to the subject
matter of this Agreement, but that it is their intention to hereby fully and finally release the claims
set forth in this paragraph, notwithstanding the discovery of any such different or additional facts.

        9.     The Trustee’s Release of the Cross Parties. Except for the obligations contained
in this Agreement, and upon occurrence of the Effective Date and delivery of the CARD/Cross
Settlement Payment, the Trustee, on behalf of himself in his capacity as Trustee of the Debtor’s
bankruptcy estate, releases and discharges the Cross Parties, and their respective officers, directors,
agents, employees, accountants, attorneys, and other professionals (collectively, the “Cross
Releasees”), from any and all actual or potential claims, demands, obligations, losses, causes of
action, damages, penalties, costs, expenses, attorneys’ fees, liabilities, and indemnities, of any kind
or nature whatsoever, whether known or unknown, suspected or unsuspected, arising from or

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relating to any claims asserted or that could have been asserted against Cross Releasees by the
Trustee related in any manner to the Debtor or the Bankruptcy Case at any time prior to the
execution of this Agreement, including, without limitation, any claims under Chapter 5 of the
Bankruptcy Code or comparable state statutes. The Trustee acknowledges that he or his attorneys
may hereafter discover facts different from or in addition to the facts that he now knows or believes
to be true as to the subject matter of this Agreement, but that it is his intention to hereby fully and
finally release the claims set forth in this paragraph, notwithstanding the discovery of any such
different or additional facts.

        10.     Cross Parties’ Release of the Trustee and Estate. Except for the obligations
contained in this Agreement, and upon occurrence of the Effective Date and delivery of the
CARD/Cross Settlement Payment, the Cross Parties, releases and discharges the Trustee and the
Debtor’s bankruptcy estate and the Trustee’s agents, employees, accountants, attorneys, and
professionals (collectively, the “Trustee Released Parties”), from any and all actual or potential
claims, demands, obligations, losses, causes of action, damages, penalties, costs, expenses,
attorneys’ fees, liabilities, and indemnities, whether known or unknown, suspected or unsuspected,
arising from or relating to any claims asserted or that could have been asserted against the Trustee
Released Parties by the Cross Parties related to the Debtor or the Bankruptcy Case at any time
prior to the execution of this Agreement (including, without limitation, any claim for the
CARD/Cross Settlement Payment under 11 U.S.C. § 502(h)). The Cross Parties acknowledge that
they or their attorneys may hereafter discover facts different from or in addition to the facts that
they now know or believe to be true as to the subject matter of this Agreement, but that it is their
intention to hereby fully and finally release the claims set forth in this paragraph, notwithstanding
the discovery of any such different or additional facts.

       11.    Withdrawal of Proofs of Claim, Motions and Contested Matters. Within 14
days of the Effective Date, the Cross Parties shall withdraw all proofs of claim filed in the
Bankruptcy Case, including Claim Nos. 6, 7, 8, 9 and 10, and CARD and/or the Cross Parties shall
withdraw any pending motions or other contested matters in the Bankruptcy Case.

     12.    Dismissal of AmEx Adversary Proceeding. Within 14 days of receipt of the
AmEx Settlement Payment or the Effective Date, whichever is later, the Trustee shall dismiss the
AmEx Adversary Proceeding, with prejudice, with each party to bear its own fees and costs.

       13.    Dismissal of CARD Adversary Proceeding. Within 14 days of receipt of the
CARD/Cross Settlement Payment or the Effective Date, whichever is later, the Trustee shall
dismiss the CARD Adversary Proceeding, with prejudice, with each party to bear its own fees and
costs.

       14.      Dismissal of Cross Parties Adversary Proceeding. Within 14 days of receipt of
the CARD/Cross Settlement Payment or the Effective Date, whichever is later, the Trustee shall
dismiss the Cross Parties Adversary Proceeding, with prejudice, with each party to bear its own
fees and costs.

       15.     No Admission of Liability. Nothing in this Agreement shall be construed as an
admission of liability by any Party to the Agreement.


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In re: 206 Golden , LLC
Continued Signature Pages for Settlement Agreement among Trustee, CARD, and Cross Parties


AMERICAN EXPRESS COMPANY


By:                                                         Dated: 3/14/23
Title:   Manager & Counsel




AMERICAN EXPRESS NATIONAL BANK


By:                                                         Dated: 3/14/23
Title:       Manger & Counsel




PAYROLL PROCESSING & PERSONNEL, LLC


By:                                                         Dated:
Title:




VOLUNTEER PROPERTIES OF DAVENPORT, LLC


By:                                                         Dated:
Title:




EAGLE HEALTHCARE, LLC


By:                                                         Dated:
Title:




                                                7
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                                         ELECTRONIC DEPOSIT AUTHORIZATION FORM


Name: _____________________________________________________________________________________________

Address: ___________________________________________________________________________________________________

City: ____________________________________             State / Country: ____________________         Zip / Postal Code: ____________

Contact Person: ____________________________________________________ Phone #: (                         ) _________________________

Title / Position: _____________________________________________________________________________________________

E-mail Address: _____________________________________________________________________________________________

Fax#: (        ) __________________________________              Tax ID # / SS # __________________________________________


Receiving Bank / Account Details:
Account Name: _____________________________________________________________________________________

Financial Institution: ________________________________________________________________________________

Financial Institution Address: __________________________________________________________________________________

City: _____________________________________ State / Country: _____________________ Zip / Postal Code: ____________

*Account #: ____________________________________________                 *SORT CODE: ____________________________________

*ABA Routing Number (U. S. only): ________________________               *BSB (Australia only): ______________________________

*SWIFT CODE: ________________________________________                    *IBAN: ___________________________________________

                 *Please verify the above account and routing numbers with your Financial Institution to ensure accuracy.



AUTHORIZATION: _________________________________________________                                 _____________________
(Authorized signature only) NAME (PLEASE PRINT)                                                       TITLE

                        _________________________________________________                        _____________________
                                        SIGNATURE                                                     DATE




                                                             EXHIBIT “A”




Error! Unknown document property name.
                              Case 8:21-bk-04780-CPM              Doc 217          Filed 03/21/23      Page 21 of 22
Label Matrix for local noticing                      AIQ Financial, LLC                                   Allbridge
113A-8                                               6880 PERRY CREEK ROAD NONE                           Sat TV PO Bx 638671
Case 8:21-bk-04780-CPM                               Raleigh, NC 27616-8069                               Cincinnati, OH 45263-8671
Middle District of Florida
Tampa
Tue Mar 21 10:35:11 EDT 2023
Broward County Tax Collector                         Center for Aging and                                 Chambers of Medicine PA
Governmental Center Annex                            Rehabilitation of Davenport,                         8508 Alafia Hills Drive
115 S. Andrews Ave                                   Robert Alan Brock                                    Plant City FL 33567-3408
Fort Lauderdale, FL 33301-1801                       100 SE 2nd Street
                                                     Miami, FL 33131-2100

Charlan Brooke, Esq.                                 Crossroads Retirement Home                           Department of Revenue
Counsel for Plaintiff                                206 W. Orange Street                                 PO Box 6668
20 N Orange Avenue Ste 1600                          Davenport, FL 33837-3118                             Tallahassee FL 32314-6668
Orlando, FL 32801-4624


Eagle Healtcare, LLC -                               Internal Revenue Service                             John A. Anthony, Esq.
c/o Scott A. Underwood                               P.O. Box 7346                                        Counsel for Plaintiff
Underwood Murray, P.A.                               Philadelphia, PA 19101-7346                          20 N Orange Avenue, Ste 1600
100 N. Tampa St., Suite 2325                                                                              Orlando, FL 32801-4624
Tampa, FL 33602-5842

Milner Documents Products                            Payroll Processing & Personnel, LLC -                Peter Van Den Boom, Esq.
PO Box 911608                                        c/o Scott A. Underwood                               Counsel for Plaintiff
Denver CO, 80291-1608                                Underwood Murray, P.A.                               402 South Kentucky Ave
                                                     100 N. Tampa St., Suite 2325                         Suite 402
                                                     Tampa, FL 33602-5842                                 Lakeland, FL 33801-5336

Reliant Pro Rehab, LLC d/b/a Reliant Rehabil         Rxperts Pharmacy of Tampa, Inc.                      Rxperts Pharmacy of Tampa, Inc. -
c/o Heather A. DeGrave                               c/o Jordan C. Kaplan, Esq.                           c/o Michael I. Bernstein,Esq
601 Bayshore Blvd., Suite 720                        Behar Law Firm, P.A                                  The Bernstein Law Firm
Tampa, Florida 33606-2760                            17501 Biscayne Blvd, Ste 460                         3050 Biscayne Blvd., Ste 403
                                                     North Miami Beach, FL 33160-4806                     Miami, FL 33137-4143

Senior Care CF, LLC -                                TK Practitioners, LLC -                              Tax Collector for Polk County
c/o Scott A. Underwood                               c/o Scott A. Underwood                               916 N Massachusetts Ave
Underwood Murray, P.A.                               Underwood Murray, P.A.                               Lakeland, FL 33801-1750
100 N. Tampa St., Suite 2325                         100 N. Tampa St., Suite 2325
Tampa, FL 33602-5842                                 Tampa, FL 33602-5842

The Estate of Ronald Charles Lada, by and th         The Estate of Ronald Charles Lada, by and th         Truist Bank, Bankruptcy Section -
c/o John A. Anthony, Esquire                         Anthony & Partners, LLC                              100-50-01-51
Anthony & Partners, LLC                              100 S. Ashley Drive, Suite 1600                      P.O. Box 1847
100 S. Ashley Drive, Suite 1600                      Tampa, Florida 33602-5318                            Wilson, NC 27894-1847
Tampa, Florida 33602-5318

Volunteer Properties of Davenport, LLC -
c/o Scott A. Underwood
Underwood Murray, P.A.
100 N. Tampa St., Suite 2325
Tampa, FL 33602-5842




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
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(d)Internal Revenue Service                  (d)The Estate of Ronald Charles Lada, by and    (u)Note: Entries with a ’+’ at the end of the
PO Box 7346                                  Anthony & Partners, LLC                         name have an email address on file in CMECF
Philadelphia, PA 19101-7346                  100 S. Ashley Drive, Suite 1600                 -------------------------------------------
                                             Tampa, Florida 33602-5318                       Note: Entries with a ’-’ at the end of the
                                                                                             name have filed a claim in this case

End of Label Matrix
Mailable recipients    24
Bypassed recipients     3
Total                  27
